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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON

UNITED STATES OF AMERICA,               )
                                        )
      Plaintiff,                        )
                                        )            Civil Case No.
v.                                      )           5:17-cv-498-JMH
                                        )
NATISHA R. BARNES and UNKNOWN           )                 ORDER
SPOUSE OF NATISHA R. BARNES,            )
and KENTUCKY HOUSING                    )
CORPORATION,                            )
                                        )
      Defendants.

                                      ***

     This matter is before the Court upon the United States’

Application    for    Issuance    and       Appointment   of   Warning    Order

Attorney.     [DE 8].    The Court having considered the Motion, and

being otherwise sufficiently advised,

     IT IS HEREBY ORDERED AND ADJUDGED as follows:

     1. Pursuant to Rules 4(e)(1) and 4(g) of the Federal Rules of

Civil Procedure and Rules 4.05, 4.06, 4.07 and 4.08 of the Kentucky

Rules of Civil Procedure, the following, a practicing attorney in

good standing with this Court, is hereby appointed Warning Order

Attorney for Natisha R. Barnes:



     Rachel Diane Yavelak

     120 N. Mill St., Suite 300

     Lexingont, Kentucky 40507
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     2. The Warning Order Attorney must make diligent efforts to

inform said Defendant, by mail, concerning the pendency and nature

of this mortgage foreclosure action against the Defendant; and

must report the results of the Warning Order Attorney’s efforts to

the Court within 50 days from the date of entry of this order. The

Warning Order Attorney shall provide a copy of the report to

counsel of record for the United States. Failure to timely file

the report absent good cause may be punished as a contempt of

court.    In    connection   with   his   or   her   efforts   to   notify   the

Defendant, the Warning Order Attorney is authorized to incur

reasonable expenses such as postage, expenses attendant to public

records searches, expenses attendant to on-line locator services,

and telephone charges. The Warning Order Attorney is not authorized

to incur, without leave of Court, extraordinary expenses such as

newspaper advertisement charges and private investigator fees.

     3. If the Warning Order Attorney cannot inform the Defendant

concerning this action, he or she shall so report to the Court and

shall then make a defense by answer if the Warning Order Attorney

can. If unable to make a defense, the Warning Order Attorney shall

so report.

     4.        If the Warning Order Attorney knows or learns that

Defendant is an unmarried infant or of unsound mind or otherwise

under a legal disability, such information shall be included in

the Warning Order Attorney’s report; and upon the filing of such
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report the Warning Order Attorney shall become the Guardian ad

Litem for such Defendant as if appointed pursuant to Rule 17(c) of

the Federal Rules of Civil Procedure and Rules 17.03 and 17.04 of

the Kentucky Rules of Civil Procedure.

     5.    The United States’ cause of action herein is for the

foreclosure of the government’s mortgage lien(s) on the subject

real property. The Plaintiff’s motion for entry of this order sets

forth the property’s address and said Defendant’s address last

known to the United States. Upon receipt of its copy of this order

from the Court Clerk, the Plaintiff’s attorney shall cause to be

delivered, by mail or by electronic means, to the Warning Order

Attorney’s office the following: a copy of the Complaint, a copy

of the Plaintiff’s motion for this order, and a copy of this order.

     6. At the time of the filing of the report, the Warning Order

Attorney may also file a motion and affidavit for payment of the

warning order attorney fees and expenses. The Court will award the

Warning Order Attorney the customary fee for such services as well

as reasonable expenses. The Warning Order Attorney’s fee and

expenses shall be taxed as costs herein.

     7. Whereas Plaintiff’s payment policies for said Warning

Order Attorney’s fees and expenses require, on average, sixty (60)

days for payment. In the event that the above appointed Warning

Order Attorney has objection to said payment schedule, he/she

should move the Court for an Order withdrawing from this case
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within ten (10) days of entry hereof. Otherwise, he/she shall be

deemed subject to Plaintiff’s payment schedule.

     This the 27th day of March, 2018.
